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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FREE HOLDINGS INC.,

                      Plaintiff,

 v.
                                                       Civil Action No.: 1:22-cv-00881 (LGS)
 KEVIN McCOY, SOTHEBY’S INC.,
 NAMELESS CORPORATION, AND ALEX
 AMSEL A/K/A SILLYTUNA

                    Defendants.



      NOTICE OF VOLUNTARY DISMISSAL PRUSUANT TO FRCP 41(a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff and its counsel

hereby give notice that the above-styled action is voluntarily dismissed, without prejudice, as to

defendant Alex Amsel a/k/a Sillytuna.


Dated: Rockville Centre, New York
       March 7, 2022
                                              FALCON RAPPAPORT & BERKMAN PLLC



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